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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     : CASE NO. 1:22-cr-00183-TSC
                                              :
                                              : (JUDGE CHUTKAN)
               v.                             :
                                              :
                                              :
 LYNWOOD NESTER,                              :
                                              :
                       Defendant              :

BRIEF IN OPPOSITION TO GOVERNMENT’S NOTICE PURSUANT TO
             FEDERAL RULES OF EVIDENCE 404(b)

       On 3 July 2023 the Government filed a Notice of Evidence Pursuant to Rule

404(b) of Defendant’s attendance at and participation in the 5 January 2021 “Stop

the Steal” rally at the Pennsylvania State Capitol to be utilized as evidence of

Defendant’s knowledge of what was to occur at the U.S. Capitol on 6 January and

his intent to participate therein.

                                     Procedural History

       On 20 May 2022, the Government filed an indictment alleging violations of,

inter alia, 40 USC § 5104(e)(2)(D) (Count One); disorderly conduct in a capitol

building and 40 USC § 5104(e)(2)(G) (Count Two); parading, demonstrating, or

picketing in a capitol building.

      To support these claims against the Defendant, the Government proposes to

introduce that the Defendant attended the Stop the Steal rally on 5 January 2020, at
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the Pennsylvania State Capitol. ECF No. 82. As justification, the Government

posits the evidence is relevant to the underlying offenses charged and is therefore

admissible under FRE 404(b) to establish the Defendant’s knowledge of and intent

to partake in what was to occur the following day at the U.S. Capitol. Id. at 1.

      The Government asserts the Defendant’s attendance at the rally in which

supporters of President Donal Trump, including members of “Free PA,” urged

legislators to not to certify the result of the 2020 presidential election evidences his

knowledge of and intent to join “what was happening at the U.S. Capitol on

January 6.” Id. at 2.

                                  Legal Authority

      As established by the D.C. Circuit, FRE 404(b) is a rule of “inclusion rather

than exclusion.” United States v. Cassell, 292 F.3d 788,796 (2002) (quoting United

States v. Bowie, 232 F.3d 923, 929 [D.C. Cir. 2000]). Furthermore, “evidence is

only prohibited if it is offered for the impermissible inference that a defendant is of

bad character resulting in bad conduct.” Castell, 292 F.3d at 796. Although Rule

404(b) may not prohibit character evidence offered for the permitted purposes,

404(b) evidence remains subject to the “general strictures limited admissibility

such as Rule 402 and 403.” Huddleston v. United States, 485 U.S. 681, 692 (1988).

Rule 402 provides that relevant evidence is admissible if not otherwise prohibited

by law, whereas Rule 403 states the court may reject otherwise relevant evidence if
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“its probative value is substantially outweighed by a danger of one or more of the

following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 402;

Fed. R. Evid. 403.

      Rules 403 and 404(b) have established a two-pronged test for the

introduction of criminal convictions and other “bad acts”; the first being the

determination of “whether th[e] evidence is probative of a material issue other than

character.” United States v. Miller, 895 F.2d 1431, 1435 (1990) (quoting

Huddleston, 485 U.S. at 681). Then, if the evidence was offered for a permissible

Rule 404(b)(2) purpose, the court must determine whether Rules 402 or 403

exclude the evidence. Id.; Fed. R. Evid. 402; Fed. R. Evid. 403.

      Rule 404(b)(3) dictates the manner in which the prosecutor must notify the

defendant of such evidence and the prosecutor’s intent for its introduction at trial.

Fed. R. Evid. 404(b)(3). To comply with the notice requirements, the prosecutor

must disclose the purpose for which the prosecutor intends to use the evidence and

the reasoning supporting it. Id. If such evidence is admitted, the court must give a

limiting instruction to the jury at the defendant’s request. United States v. Morrow.

No. 04-355 (CKK), 2005 U.S. Dist. LEXIS 23512, at *100 (D.D.C. Apr. 7, 2005)

(quoting Fed. R. Evid. 105). In the case at bar, the Government provided

insufficient reasoning to support its “knowledge and intent” argument. The actions
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do not fall within the permitted exceptions of 404(b)(2) as the Defendant’s

attendance at the Stop the Steal rally is offered for propensity purposes.

Furthermore, not only does this action lack probative value, but what little

probative value it possesses fails to outweigh the danger of unfair prejudice. A

limiting instruction would not prevent the jury from assigning undue prejudice to

the defendant.

                                     Argument

   I.    The Government’s argument that Defendant’s attendance at the
         Stop the Steal rally illustrates Defendant’s knowledge of and intent
         to participate in his alleged actions at the U.S. Capitol lack sufficient
         justification as required by Rule 404(b)(3) and is not encompassed by
         the permissible exceptions ascribed in Rule 404(b)(2).

   The Government’s notice dated 3 July 2023 satisfies the written requirement of

Rule 404(b)(3)(A) and Rule 404(b)(3)(C); however, the notice fails to articulate a a

reason that this action would inform the Defendant’s alleged knowledge of or

intent to participate in “what was happening at the U.S. Capitol on January 6” or

even more importantly, that he would even have known what would happen at the

Capitol the following day

   The logical nexus between the Stop the Steal rally and the events that transpired

at the U.S. Capitol on 6 January is non-existent. The “Stop the Steal” rally was

held on the exterior grounds of the Pennsylvania State Capitol, resulted in no
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destruction of government property, and did not disrupt the legislative process; it

was the Defendant merely exercising his First Amendment right to protest.

   Furthermore, mere presence at a lawful protest does not establish knowledge of

or intent to participate in the actions with which he is presently charged. To

establish this would require assumptions on the part of the Court and the jury. The

Government lacks any evidence that the Defendant intended or agreed to enter or

remain in a restricted building, engage in disorderly conduct, engage in disruptive

conduct within the Capitol or impermissibly picket or parade in the U.S. Capitol.

For this evidence to be permissible, the Government cannot rely on assumptions;

they bear burden of establishing its permissibility, which they have failed to do.

The connection between the action and the supposed “knowledge” or “intent”

proffered by the Government is far too attenuated to constitute legitimate

reasoning.

   II.    Under Huddleston v. United States, 485 U.S. 681 (1988), the danger
          of unfair prejudice substantially outweighs the probative value of
          Defendant’s presence at the Stop the Steal rally.

   If This Honorable Court finds these alleged activities are relevant under the first

of the two-prong test established in Miller and Huddleston, the action the

Government seeks to introduce is inflammatory and therefore should not be

admitted. The moment a reference to the Stop the Steal rally is made, jurors will

make an impermissible inference. It is a polarizing topic the Government intends to
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wield as a tool to paint the Defendant in a prejudicial light. Such evidence would

only serve to confuse the jury as the Stop the Steal rally was a lawful exertion of

the defendant’s First Amendment rights and would create substantial unfair

prejudice. The Government cannot and has not provided the probative basis for its

admissibility. This Court should therefore prevent the jury from hearing this

evidence.

   III.     A limiting instruction would not sufficiently guard against prejudice.

   While a limiting instruction for 404(b) evidence is permissible upon the

Defendant’s request, such instruction in the instant case does not suffice to protect

the Defendant against prejudice. Although jury instructions are presumed effective,

see Francis v. Franklin, 471 U.S. 307, 324 (1985), this presumption is rebutted by

the highly politicized nature of the issues at hand and a limiting instruction would

not prevent a jury from finding guilt based upon opposition to the Defendant’s

actions. This is a highly politicized case, where the Defendant’s action, if

introduced, could jeopardize his constitutional right to a fair trial.

   The risk in this case is far too great for the jury to hear this evidence based upon

its unfairly prejudicial and extremely attenuated nature. This Court should

therefore not admit this evidence. However, in the event this Court finds this

testimony admissible, the Defendant requests a limiting instruction.
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   IV.    The Government’s proposed evidence is offered for propensity
          purposes.

   The primary bar on character evidence is for improper, or propensity purposes.

See Fed. R. Evid. 404. The Government has attempted to establish a permissible

reason for this evidence under 404(b)(2) but has failed to adduce a good-faith

argument as to how the evidence establishes the Defendant’s presence at the Stop

the Steal rally proves he had knowledge and intent to participate in obstructing an

official proceeding. Merely stating this act as evidence of knowledge and intent is

not sufficient to meet the requisite burden; the Government is relying on the jury

assuming that a lawful protest at the Pennsylvania Capitol is equivalent to the

protest on 6 January. What occurred was not remotely foreseeable. It therefore

seeks to establish the Defendant’s character and actions in conformance therewith.

   The Government bears the burden of establishing this evidence is probative of a

permissible 404(b) purpose and not highly prejudicial in nature. If admitted, this

evidence would constitute improper character evidence as it does not make any

fact of consequence in the Government’s case in chief more or less probable.

                                    Conclusion

      The Government seeks to introduce evidence that is unfairly prejudicial and

serves as impermissible propensity evidence rather than evidence for a permitted

purpose under Rule 404(b). The Government has also failed to meet its burden of
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establishing permissibility. For the foregoing reasons, this Court should grant the

Defendant’s Motion to Exclude 404(b) Evidence.



                                              Respectfully Submitted,
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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was served on
the individual listed below:


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